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 Counsel to the Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                  )
     In re:                                                       )        Chapter 11
                                                                  )
     SIZMEK INC., et al.,1                                        )        Case No. 19-10971 (SMB)
                                                                  )
                                         Debtors.                 )        (Jointly Administered)
                                                                  )

                                 AGENDA FOR HEARING TO BE HELD
                       MAY 30, 2019 AT 10:00 A.M. (PREVAILING EASTERN TIME)

     Time and Date of Hearing:                          May 30, 2019 at 10:00 a.m. (ET)

     Location of Hearing:                               U.S. Bankruptcy Court
                                                        Courtroom 723
                                                        One Bowling Green
                                                        New York, NY 10004


     Copies of Motions and Applications                 Copies of each pleading identified below can be viewed
                                                        and/or obtained (i) from the Debtors’ proposed claims
                                                        and noticing agent, Stretto, at
                                                        https://cases.stretto.com/sizmek or (ii) by accessing the
                                                        Court’s website at www.nysb.uscourts.gov.




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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
        Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. and (8106);
        X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these chapter
        11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.



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 A.       Uncontested Matters

      1. Assumption and Rejection Procedures Motion. Debtors’ Motion for Order Pursuant to
         Bankruptcy Code Sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and
         Local Bankruptcy Rule 6006-1 Authorizing and Approving Expedited Procedures for
         Rejection and Assumption of Executory Contracts and Unexpired Leases and Granting
         Related Relief [Docket No. 152].

          Objection Deadline: May 9, 2019 at 4:00 p.m. (ET).

          Responses Received: None.

          Related Documents:

                          a. Certificate of No Objection Regarding Debtors’ Motion for Order
                             Pursuant to Bankruptcy Code Sections 105, 365, and 554, Bankruptcy
                             Rules 6006 and 9014, and Local Bankruptcy Rule 6006-1 Authorizing and
                             Approving Expedited Procedures for Rejection and Assumption of
                             Executory Contracts and Unexpired Leases and Granting Related Relief
                             [Docket No. 168].

                          b. Order Granting in Part Debtors’ Motion for Order Pursuant to Bankruptcy
                             Code Sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and
                             Local Bankruptcy Rule 6006-1 Authorizing and Approving Expedited
                             Procedures for Rejection or Assumption of Executory Contracts and
                             Unexpired Leases and Granting Related Relief [Docket No. 183].

                          c. Certificate of No Objection Regarding Debtors’ Motion for Order Pursuant
                             to Bankruptcy Code Sections 105, 365, and 554, Bankruptcy Rules 6006
                             and 9014, and Local Bankruptcy Rule 6006-1 Authorizing and Approving
                             Expedited Procedures for Rejection and Assumption of Executory
                             Contracts and Unexpired Leases and Granting Related Relief [Docket No.
                             195].

          Status: The Debtors filed a Certificate of No Objection [Docket No. 195] and
          respectfully request that the Court enter the proposed order attached thereto. No hearing
          is required unless the Court has questions or concerns.

      2. Bar Date Motion. Debtors’ Motion for an Order (I) Establishing Bar Dates for Filing
         Claims and (II) Approving the Form and Manner of Notice Thereof [Docket No. 161].

          Objection Deadline: May 23, 2019 at 4:00 p.m. (ET).

          Responses Received: None.

          Related Documents:

                          a. Certificate of No Objection Regarding Debtors’ Motion for An Order (I)

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                          Establishing Bar Dates for Filing Claims and (II) Approving the Form and
                          Manner of Notice Thereof [Docket No. 194].

          Status: The Debtors filed a Certificate of No Objection [Docket No. 194] and respectfully
          request that the Court enter the proposed order attached thereto. No hearing is required
          unless the Court has questions or concerns.

 B.       Contested Matters

      1. Cash Collateral Motion. Debtors’ Motion for the Entry of Interim and Final Orders (I)
         Authorizing the Debtors to Use Cash Collateral Pursuant to 11 U.S.C. § 363; and (II)
         Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361, 362, 363, and 507, and
         Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001(b) [Docket No. 14].

          Objection Deadline: May 23, 2019 at 4:00 p.m. (ET) (which deadline was extended to
          May 28, 2019 at 10:00 a.m. (ET) for the Official Committee of Unsecured Creditors by
          agreement with Debtors).

          Responses Received:

              a. Limited Objection of the Official Committee of Unsecured Creditors to Debtors’
                 Motion for the Entry of Interim and Final Orders (I) Authorizing the Debtors to
                 Use Cash Collateral Pursuant to 11 U.S.C. § 363; and (II) Granting Adequate
                 Protection Pursuant to 11 U.S.C. §§ 361, 362, 363, and 507, and Scheduling a
                 Final Hearing Pursuant to Bankruptcy Rule 4001(b) [Docket No. 193].

          Related Documents:

              b. Declaration of Sascha Wittler, Chief Financial Officer of Sizmek Inc., (I) in
                 Support of Chapter 11 Petitions and (II) Pursuant to Local Rule 1007-2 [Docket
                 No. 13].

              c. Supplemental Declaration of Sascha Wittler, Chief Financial Officer of Sizmek
                 Inc., (I) in Support of Chapter 11 Petitions and (II) Pursuant to Local Rule 1007-2
                 [Docket No. 54].

              d. Interim Order (I) Authorizing the Debtors to Use Cash Collateral Pursuant to 11
                 U.S.C. § 363, and (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§
                 361, 362, 363, and 507, and Scheduling a Final Hearing Pursuant to Bankruptcy
                 Rule 4001 [Docket No. 37].

              e. Second Interim Order (I) Authorizing the Debtors to Use Cash Collateral Pursuant
                 to 11 U.S.C. § 363, (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§
                 361, 362, 363, and 507, and (III) Scheduling a Final Hearing Pursuant to
                 Bankruptcy Rule 4001(b) [Docket No. 104].

              f. Notice of Hearing [Docket No. 107].


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              g. Memorandum Endorsed Order Signed 5/9/2019, Re: Granting Extension Request
                 [Docket No. 164].

              h. Certificate of No Objection Regarding Debtors’ Motion for the Entry of Interim
                 and Final Orders (I) Authorizing the Debtors to Use Cash Collateral Pursuant to 11
                 U.S.C. § 363; and (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361,
                 362, 363, and 507, and Scheduling a Final Hearing Pursuant to Bankruptcy Rule
                 4001(b) [Docket No. 167].

              i. Third Interim Order (I) Authorizing the Debtors to Use Cash Collateral Pursuant to
                 11 U.S.C. § 363, (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361,
                 362, 363, and 507, and (III) Scheduling a Final Hearing Pursuant to Bankruptcy
                 Rule 4001(b) [Docket No. 172].

              j. Memorandum Endorsed Order Signed 5/22/2019, Re: Granting Extension
                 Request [Docket No. 189].

          Status: This matter is going forward. Debtors will submit a proposed form of Order in
          advance of the Hearing.

     2. Zeta Assumption and Assignment Motion. Debtors’ First Motion for Entry of an Order
        (I) Authorizing and Approving the Assumption and Assignment of Executory Contracts
        and Unexpired Leases to Zeta Global Holdings Corp. in Connection with Sale of Demand
        Side Platform and Data Management Platform and (II) Granting Related Relief [Docket
        No. 160].

          Objection Deadline: May 23, 2019 at 4:00 p.m. (ET) (which deadline was extended to
          May 28, 2019 at 10:00 a.m. (ET) for the Gamesys US LLC and Gamesys (Gibraltar)
          Limited by agreement with Debtors).

          Responses Received:

              a. Limited Objection to Debtors’ First Motion for Entry of an Order (I) Authorizing
                 and Approving the Assumption and Assignment of Executory Contracts and
                 Unexpired Leases to Zeta Global Holdings Corp. in Connection with Sale of
                 Demand Side Platform and Data Management Platform and (II) Granting Related
                 Relief [Docket No. 190].

          Related Documents:

              a. Memorandum Endorsed Order Signed 5/23/2019, Re: Granting Extension
                 Request [Docket No. 192].

          Status: This matter is going forward.




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 Dated: May 28, 2019                 /s/ Steven J. Reisman
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